                                  E-FILED
          Friday, 30 May, 2014 01:23:31 PM
              Clerk, U.S. District Court, ILCD




Exhibit
 201
Exhibit
 202
Exhibit
 203
Exhibit
 204
Exhibit
 205
Exhibit
 206
Exhibit
 207
Exhibit
 208
Exhibit
 209
Exhibit
 210
OCT-06-2005    17: 2.8                 ECHOSTHR                                                                                                                               P.03
                                                                                                                                                                                        ;    .
                                                                                                                                                                                        '·
                                       SE'ITLE1\<1ENT AGREEl\-iENT AND RELEASE

               TillS SETTLEMENT AGREEMENT AN"D RELEASE ("Agreement") is made effective this
      i'' day of September, 2005, by and between JAY CONNOR ("Claimant') and STAR SA!tiLLnE, LLC
      ("SSLLC"), DISH NETWORK SERVICE, L.L.C., KATIE S. MYERS, Individually, and WALTER E.
      MYERS, Individually (collectively the "Defendants'') (Claimant and Defendants collectively referred to                                                                            L
                                                                                                                                                                                        (."

      as the "Parties")

              WHEB:EAS a dispute has a.Tisen between Claima..tlt a11d Defendants;
                             1

                                                                                                                                 i
              WHEP~AS,           Claiil"llmt has filed a complaint against Ir~fendants in tr..e Small Claims Co!..."rt) State .. i!•"
     of South Carol:ina,·Cow":ity of Charleston, Case No. 2005·SC-86-1748 e~case,');                                                                                                    .i ·:
                                                                                                                                                                                    .       ''
              WHEREAS, the Parries wish to end their dispute, resolve the matter and dismiss the Case.             1


                                                                                                                                                                                        .:·
             NOW THEREFORE, for good and valuable consideration, the receipt and sutllciency of which · i.
     is hereby acknowledged, the Parties intending to be legally bound, hereby agree as follows:        i·
      1)      SSLLC shall issue a check made payable to Claimant in the amount of Two Thousand Three
              Hundred Dollars and Zero Cents ($2,300.00)_

      2)       In consideration for t.l-te actions referenced i..'l the above lV'...ragrapl1s~ ClaiiD_ant does hereby
               absolutely ~~ unconditionally release and forever discharge Defendants, its parents, subsidiaries.                                                                           ,.
                                                                                                                                                                                            !.
               affiliates, agents, empluyees, representatives, successors and assi~s (''Released Parties') from                                                                             '
               any and ail manner of actioo or actions, cla-ims and dan1ages~ whett...ror known or u1Jknown~ fixed
                      --     .    ~-    .   •   ~·   .   ....   •   •   •   •   ••   • 4   •   4   -~   ........       -   -   _ ...   ·-- - - -   -· - - ·   •••   1.   -~--.a--
              or connngent, Olrect or m01rect, nqmaatea or unnqmaarea, rna• 1..1annam may nuw ur                                                                    m;r~"""'

              have against any of the Released Parties, including those that are the subject of the Case.
                                                                                                                                                                                        : '\:·.
      3)      By entering into this Agreement, Defendants are not admitting any lil!bility, any and all such                                                                            -"!;~·.
                                                                                                                                                                                        .    ~ ":

              liability being expressly denied.                                                                                                                                             !"'
                                                                                                                                                                                             '!'.
      4)       The existence of this Agreement, the terms and conditions of this Agreement, and the fact that the                                                                       .    :.::-.:·
               dispute between th.e Parties ~..s settled must be kept strictly confidential~ unless otherwise
               requir-.xl by applicable law.

      ~)       This Agreem.etit is contractual and constitutes the entire a0.eement of Claimant and Def'--udants.                                                                       .   :i :;
     _________ Tf!~.!:arti~ -~~Q__'!.f:ft.~~V:~1Y _tep1 es~t!h!!Jlt.2Y- il~-~Q..~~.n.g i:t!~. ~i§.~~~en1ef!t9.f ~J~.iLQVfi! _
               free will, that none of them are reiying upon any representation or faiiure to disclose infor;naiioo                                                                         :1 .·
                                                                                                                                                                                                '.
               by any other party not contained herein, and that they have made independent investigation of any                                                                                ,'·.
               and all bases for their decision to execute this Agreement.

      6)      In the event that there is litigation between the P~ies with regard to the enforcemect of this
              Agreemect, the prevailing party in such litigation shall be entitled to recover from the non-
              pr;,vailing party -the reasonable costs and attorney's fees incurred by the prevailing party m
              c.on_nection wlth such litigation,

     7)       This i'~~.e,-reerr~t shall be governed, and \..~forced in accordance with the la\t;rS of the State of
              South Carolina. Venue for any a.11d all clahTtS brought hereunder or hi connections sl-Ml be in
               Charieston County, South Carolina.

      8)      Upon receiving a check in the amount of Two Thousand Three Hundred Doiiars and Zero Cents
              ($2,300.00), Claimant agrees to immt:diately dismiss all claims with prejudice m the Case and
              further agrees that this Agreement may be specifically enforced and used as evidence in
              subsequent proceedings in which a breach of this Agreement is alleged.




                                                                                                                                                                           FTC016-000129
